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                                   12
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                                   13   Attorneys for Plaintiff,
                                        Jillian Green
                                   14
                                   15                    UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF CALIFORNIA
                                   16
                                   17   JILLIAN GREEN;                           Case No.:   '13CV2055 JAH BLM
                                        INDIVIDUALLY AND ON
                                   18   BEHALF OF ALL OTHERS                     CLASS ACTION
                                        SIMILARLY SITUATED,
                                   19                                            COMPLAINT FOR DAMAGES
                                                      Plaintiff,                 AND INJUNCTIVE RELIEF
                                   20                                            PURSUANT TO THE
                                                              v.                 TELEPHONE CONSUMER
                                   21                                            PROTECTION ACT, 47 U.S.C. §
                                        CASH RESERVES LLC dba                    227, ET SEQ.
                                   22   LOANCALL.COM,                            JURY TRIAL DEMANDED
                                   23
                                                     Defendant.
                                   24
                                   25   ///
                                   26   ///
                                   27   ///
                                   28   ///


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                                    1                                     I NTRODUCTION
                                    2      1. JILLIAN GREEN (“Plaintiff”) brings this Class Action Complaint for
                                    3         damages, injunctive relief, and any other available legal or equitable
                                    4         remedies, resulting from the illegal actions of CASH RESERVES LLC dba
                                    5         LOANCALL.COM (“Defendant”) in negligently contacting Plaintiff on
                                    6         Plaintiff’s cellular telephone, in violation of the Telephone Consumer
                                    7         Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading
                                    8         Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as
                                    9         to herself and her own acts and experiences, and, as to all other matters,
                                   10         upon information and belief, including investigation conducted by their
                                   11         attorneys.
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                                   12      2. The TCPA was designed to prevent calls and messages like the ones
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                                   13         described within this complaint, and to protect the privacy of citizens like
                                   14         Plaintiff. “Voluminous consumer complaints about abuses of telephone
                                   15         technology – for example, computerized calls dispatched to private homes –
                                   16         prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132
                                   17         S. Ct. 740, 744 (2012).
                                   18      3. In enacting the TCPA, Congress intended to give consumers a choice as to
                                   19         how creditors and telemarketers may call them, and made specific findings
                                   20         that “[t]echnologies that might allow consumers to avoid receiving such
                                   21         calls are not universally available, are costly, are unlikely to be enforced, or
                                   22         place an inordinate burden on the consumer.      TCPA, Pub.L. No. 102–243,
                                   23         § 11. Toward this end, Congress found that
                                   24
                                                    [b]anning such automated or prerecorded telephone calls to the
                                   25
                                                    home, except when the receiving party consents to receiving the
                                   26               call or when such calls are necessary in an emergency situation
                                                    affecting the health and safety of the consumer, is the only
                                   27
                                                    effective means of protecting telephone consumers from this
                                   28               nuisance and privacy invasion.

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                                    1
                                        Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
                                    2   3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
                                        purpose).
                                    3
                                           4. Congress also specifically found that “the evidence presented to the
                                    4
                                              Congress indicates that automated or prerecorded calls are a nuisance and an
                                    5
                                              invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See
                                    6
                                              also, Mims, 132 S. Ct. at 744.
                                    7
                                           5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
                                    8
                                              case regarding calls to a non-debtor similar to this one:
                                    9
                                   10
                                                    The Telephone Consumer Protection Act … is well known for
                                   11               its provisions limiting junk-fax transmissions. A less-litigated
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                                                    part of the Act curtails the use of automated dialers and
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                                                    prerecorded messages to cell phones, whose subscribers often
                                   13               are billed by the minute as soon as the call is answered—and
                                                    routing a call to voicemail counts as answering the call. An
                                   14
                                                    automated call to a landline phone can be an annoyance; an
                                   15               automated call to a cell phone adds expense to annoyance.
                                   16   Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
                                   17                                  J URISDICTION   AND   V ENUE
                                   18      6. This Court has federal question jurisdiction because this case arises out of
                                   19         violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
                                   20         132 S. Ct. 740 (2012).
                                   21      7. Venue is proper in the United States District Court for the Southern District
                                   22         of California pursuant to 28 U.S.C. § 1391 because Defendant is subject to
                                   23         personal jurisdiction in the County of San Diego, State of California.
                                   24
                                   25
                                   26
                                   27
                                   28


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                                    1                                               P ARTIES
                                    2         8. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
                                    3            the State of California. Plaintiff is, and at all times mentioned herein was, a
                                    4            “person” as defined by 47 U.S.C. § 153 (10).
                                    5         9. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
                                    6            at all times mentioned herein was, a corporation whose State of
                                    7            Incorporation and principal place of business is in the State of Nevada.
                                    8            Defendant, is and at all times mentioned herein was, a corporation and is a
                                    9            “person,” as defined by 47 U.S.C. § 153 (10). Defendant is a debt collector
                                   10            engaged in debt collection across the nation. Plaintiff alleges that at all
                                   11            times relevant herein Defendant conducted business in the State of
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                                   12            California and in the County of San Diego, and within this judicial district.
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                                   13                                 F ACTUAL A LLEGATIONS
                                   14         10. At all times relevant, Plaintiff was a citizen of the State of California.
                                   15            Plaintiff is, and at all times mentioned herein was, a “person” as defined by
                                   16            47 U.S.C. § 153 (10).
                                   17         11. Defendant is, and at all times mentioned herein was, a corporation and a
                                   18            “person,” as defined by 47 U.S.C. § 153 (10).
                                   19         12. At all times relevant Defendant conducted business in the State of California
                                   20            and in the County of San Diego, within this judicial district.
                                   21         13. At no time did Plaintiff ever enter into a business relationship with
                                   22            Defendant.
                                   23         14. Plaintiff did not provide Plaintiff’s cellular telephone numbers to Defendant
                                   24            through any medium at any time.
                                   25         15. Defendant obtained Plaintiff’s contact information through unknown means.
                                   26   ///
                                   27   ///
                                   28


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                                    1   1.    Between July 30, 2013 and August 9, 2013, Defendant sent Plaintiff
                                    2         unsolicited text messages from telephone number 665-55 to Plaintiff’s
                                    3         cellular telephone number ending in “6190”
                                    4   2.    With slight variations to the URL, the unsolicited SPAM text messages read
                                    5         as follows:
                                    6                            Need CA$H in your account? For a loan of
                                    7
                                                                 $100-$1000, visit LoanCall.com/?NRIPmG
                                                                 for instant decision and pay-outs. Reply
                                    8                            STOP to end.
                                    9
                                        3.    After receiving two such messages between July 30, 2013 and July 31, 2013,
                                   10
                                              Plaintiff replied STOP to end Defendant’s unsolicited text messages.
                                   11
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                                        4.    Despite Plaintiff’s explicit desire to end the unsolicited text messages,
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                                              Defendant sent three more nearly identical text messages to Plaintiff
                                   13
                                              between August 9, 2013 and August 9, 2013.
                                   14
                                        5.    Following receipt of the fifth unsolicited text message, Plaintiff replied
                                   15
                                              STOP again on or about August 14, 2013.
                                   16
                                        6.    Defendant responded to Plaintiff’s second STOP message as follows:
                                   17
                                   18                            You are unsubscribed from Weekly Deal, no
                                   19                            more msgs will be sent. Reply HELP for
                                                                 help. Msg & date rates may apply.
                                   20
                                   21   7.    On information and belief, the purpose of this text messages was to solicit
                                   22         business from Plaintiff regarding an online consumer website owned and
                                   23         operated by Defendant. When a consumer clicks on the link, said consumer
                                   24         is directed to Defendant’s website where Defendant seeks private
                                   25         information from consumers to determine if these consumers qualify for a
                                   26         loan.
                                   27
                                   28


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                                    1   8.       On information and belief, Defendant sends the same type of unsolicited text
                                    2            message, with slight variations and from various telephone numbers, to
                                    3            consumers throughout the United States.
                                    4   9.       Through such conduct, Defendant contacted Plaintiff on Plaintiff’s cellular
                                    5            telephone attempting to advertise Defendant’s goods and/or services via an
                                    6            “automatic telephone dialing system” (“ATDS”), as defined by 47 U.S.C. §
                                    7            227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).
                                    8   10.      This ATDS has the capacity to store or produce telephone numbers to be
                                    9            called, using a random or sequential number generator.
                                   10   11.      The telephone number to which Defendant sent an automated text message
                                   11            was assigned to a cellular telephone service for which Plaintiff incurs a
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                                   12            charge for incoming calls and text messages pursuant to 47 U.S.C. § 227
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                                   13            (b)(1).
                                   14   12.      This text message constituted a call that was not for emergency purposes as
                                   15            defined by 47 U.S.C. § 227 (b)(1)(A)(i).
                                   16   13.      Plaintiff did not provide Defendant or its agent prior express consent to send
                                   17            text messages, including unsolicited text messages, to his cellular telephone,
                                   18            pursuant to 47 U.S.C. § 227 (b)(1)(A).
                                   19   14.      This automated text message by Defendant, or its agent, violated 47 U.S.C. §
                                   20            227(b)(1).
                                   21                              C LASS A CTION A LLEGATIONS
                                   22         16. Plaintiff brings this action on behalf of herself and on behalf of all others
                                   23            similarly situated (“the Class”).
                                   24         17. Plaintiff represents and is a member of the Class, which includes all persons
                                   25            within the United States who received any unsolicited text message from
                                   26            Defendant, which text message was not made for emergency purposes
                                   27            within the four years prior to the filing of this Complaint.
                                   28


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                                    1         18. Defendant and its employees or agents are excluded from the Class.
                                    2            Plaintiff does not know the number of members in the Class, but believes the
                                    3            Class members number in the hundreds of thousands, if not more. Thus, this
                                    4            matter should be certified as a Class action to assist in the expeditious
                                    5            litigation of this matter.
                                    6         19. Plaintiff and members of the Class were harmed by the acts of Defendant in
                                    7            at least the following ways: Defendants, either directly or through its agents,
                                    8            illegally contacted Plaintiff and the Class members via their cellular
                                    9            telephones by using an ATDS, thereby causing Plaintiff and the Class
                                   10            members to incur certain cellular telephone charges or reduce cellular
                                   11            telephone time for which Plaintiff and the Class members previously paid,
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                                   12            and invading the privacy of said Plaintiff and the Class members. Plaintiff
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                                   13            and the Class members were damaged thereby.
                                   14         20. This suit seeks only damages and injunctive relief for recovery of economic
                                   15            injury on behalf of the Class, and it expressly is not intended to request any
                                   16            recovery for personal injury and claims related thereto. Plaintiff reserves the
                                   17            right to expand the Class definition to seek recovery on behalf of additional
                                   18            persons as warranted as facts are learned in further investigation and
                                   19            discovery.
                                   20         21. The joinder of the Class members is impractical and the disposition of their
                                   21            claims in the Class action will provide substantial benefits both to the parties
                                   22            and to the court. The Class can be identified through Defendants’ records or
                                   23            Defendants’ agents’ records.
                                   24         22. There is a well-defined community of interest in the questions of law and
                                   25            fact involved affecting the parties to be represented. The questions of law
                                   26            and fact to the Class predominate over questions which may affect
                                   27            individual Class members, including the following:
                                   28   ///


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                                    1              a. Whether, within the four years prior to the filing of this Complaint,
                                    2                 Defendant sent any text message (other than a text message made for
                                    3                 emergency purposes) to a Class member using any automatic
                                    4                 telephone dialing system and/or text messaging system to any
                                    5                 telephone number assigned to a cellular telephone service;
                                    6         a)     Whether Plaintiff and the Class members were damaged thereby, and
                                    7                the extent of damages for such violation; and
                                    8         b)     Whether Defendants and its agents should be enjoined from engaging
                                    9                in such conduct in the future.
                                   10      23. As a person that received at least one telephonic communication from
                                   11         Defendant’s ATDS without Plaintiff’s prior express consent, Plaintiff is
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                                   12         asserting claims that are typical of the Class.        Plaintiff will fairly and
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                                   13         adequately represent and protect the interests of the Class in that Plaintiff
                                   14         has no interests antagonistic to any member of the Class.
                                   15      24. Plaintiff and the members of the Class have all suffered irreparable harm as
                                   16         a result of the Defendants’ unlawful and wrongful conduct. Absent a class
                                   17         action, the Class will continue to face the potential for irreparable harm. In
                                   18         addition, these violations of law will be allowed to proceed without remedy
                                   19         and Defendants will likely continue such illegal conduct. Because of the
                                   20         size of the individual Class member’s claims, few, if any, Class members
                                   21         could afford to seek legal redress for the wrongs complained of herein.
                                   22      25. Plaintiff has retained counsel experienced in handling class action claims
                                   23         and claims involving violations of the Telephone Consumer Protection Act.
                                   24      26. A class action is a superior method for the fair and efficient adjudication of
                                   25         this controversy. Class-wide damages are essential to induce Defendants to
                                   26         comply with federal and California law. The interest of Class members in
                                   27         individually controlling the prosecution of separate claims against
                                   28         Defendants is small because the maximum statutory damages in an


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                                    1         individual action for violation of privacy are minimal. Management of these
                                    2         claims is likely to present significantly fewer difficulties than those
                                    3         presented in many class claims.
                                    4      27. Defendant has acted on grounds generally applicable to the Class, thereby
                                    5         making appropriate final injunctive relief and corresponding declaratory
                                    6         relief with respect to the Class as a whole.
                                    7                              F IRST C AUSE O F A CTION
                                    8   N EGLIGENT V IOLATIONS O F T HE T ELEPHONE C ONSUM ER P ROTECTION
                                    9                                           A CT
                                   10                              47 U.S.C. § 227 E T S EQ .
                                   11      28. Plaintiff incorporates by reference all of the above paragraphs of this
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                                   12         Complaint as though fully stated herein.
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                                   13      29. The foregoing acts and omissions of Defendant constitutes numerous and
                                   14         multiple negligent violations of the TCPA, including but not limited to each
                                   15         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                   16      30. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                                   17         Plaintiff and The Class are entitled to an award of $500.00 in statutory
                                   18         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                   19      31. Plaintiff and the Class are also entitled to and seek injunctive relief
                                   20         prohibiting such conduct in the future.
                                   21                             S ECOND C AUSE O F A CTION
                                   22                K NOW ING   AND / OR   W ILLFUL V IOLATIONS     OF THE

                                   23                    T ELEPHONE C ONSUM ER P ROTECTION A CT
                                   24                              47 U.S.C. § 227 E T S EQ .
                                   25      32. Plaintiff incorporates by reference all of the above paragraphs of this
                                   26         Complaint as though fully stated herein.
                                   27      33. The foregoing acts and omissions of Defendant constitutes numerous and
                                   28         multiple knowing and/or willful violations of the TCPA, including but not


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                                    1          limited to each and every one of the above-cited provisions of 47 U.S.C. §
                                    2          227 et seq.
                                    3       34. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
                                    4          227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
                                    5          statutory damages, for each and every violation, pursuant to 47 U.S.C. §
                                    6          227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                    7       35. Plaintiff and the Class are also entitled to and seek injunctive relief
                                    8          prohibiting such conduct in the future.
                                    9                                   P RAYER F OR R ELIEF
                                   10    Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The Class
                                   11    members the following relief against Defendants:
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                                   12            F IRST C AUSE     OF   A CTION   FOR    N EGLIGENT V IOLATION   OF
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                                   13                        THE   TCPA, 47 U.S.C. § 227 E T S EQ .
                                   14         • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                   15            Plaintiff seeks for himself and each Class member $500.00 in statutory
                                   16            damages, for each and every violation, pursuant to 47 U.S.C. §
                                   17            227(b)(3)(B).
                                   18         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                   19            conduct in the future.
                                   20         • Any other relief the Court may deem just and proper.
                                   21      S ECOND C AUSE    OF    A CTION     FOR   K NOW ING /W ILLFUL V IOLATION   OF

                                   22                        THE   TCPA, 47 U.S.C. § 227 E T S EQ .
                                   23         • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                   24            § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00
                                   25            in statutory damages, for each and every violation, pursuant to 47 U.S.C.
                                   26            § 227(b)(3)(B).
                                   27         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                   28            conduct in the future.


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                                    1         • Any other relief the Court may deem just and proper.
                                    2
                                    3
                                    4                                       T RIAL B Y J URY
                                    5       36. Pursuant to the seventh amendment to the Constitution of the United States
                                    6          of America, Plaintiff is entitled to, and demands, a trial by jury.
                                    7
                                         Dated: September 3, 2013                              Respectfully submitted,
                                    8
                                    9
                                                                                         K AZEROUNI L AW G ROUP , APC
                                   10
                                   11                                                       By: _/s Abbas Kazerounian_____
KAZEROUNI LAW GROUP, APC




                                                                                                 ABBAS KAZEROUNIAN, ESQ.
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                                                                                                    ATTORNEY FOR PLAINTIFF
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